                     Case 2:11-cv-00084 Document 1519 Filed on 02/15/24 in TXSD Page 1 of 1
    ASHLEY HUMMEL                         CAREER OBJECTIVE

                                          Identify community resources and services that will benefit clients.
          Tolliashley@gmail.com
                                          Advocate for individuals and families with social service needs.
          832-403-5899

                                          EXPERIENCE
    EDUCATION
                                          Rights Protection Officer
    SAM HOUSTON STATE
                                         The Harris Center Jan. 2022- Present
    UNIVERSITY                           ● Investigate rights violations to clients served.
    Masters in Victim Service            ● Handle calls and find solutions for complaints.
    Management                           ● Member of IRB committee and Safe Care committee along with Urgent Case
    Bachelors Victim Studies                reviews

    LONE STAR COLLEGE                     9-1-1 OPERATOR
    Associates Criminal Justice
                                          City Of Houston / Sep 2021 - Jan. 2022
                                            ● Assist callers to identify their locations and the nature of their
    ADDITIONAL SKILLS                           emergency to determine the type of response needed.
                                            ● Receive incoming phone correspondence regarding emergency and
    Works well in high-stress and
                                                non-emergency police and fire service, emergency ambulance
    demanding environments.
                                                service, information, and after-hours calls for departments within a
    Experience working with                     city.
    juveniles and adults.                   ● Determine response requirements and identify priorities of
                                                situations to dispatch units following established procedures.
    CERTIFICATES
    Mental Health First Aid               PROJECT COORDINATOR / SCHEDULER
    Conflicts of interest                 Genesis Medical Group / Sep 2020 - May 2021
                                           ● Schedule and confirm patient diagnostic appointments, surgeries,
    IRB
                                              or medical consultations.
    Institutional/Signatory Official:
                                           ● Greet patients, ascertain the purpose of the visit, and direct them
    Human Subject Research
                                              to the appropriate staff.
    Internal forensic auditor              ● Track the enrollment status of patients and document long-term
    REFERENCES                                care timelines.
                                          INVESTIGATOR
    Evelyn Locklin
                                          Department of Family Protective Services / Jul 2019 - Apr 2020
    Director- Emergency Services and       ● Interview clients individually, in families, or in groups, assessing
    Respite programs
                                              their situations, capabilities, and problems to determine what
    Email:                                    services are required to meet their needs.
    evelyn.locklin@theharriscenter.org     ● Maintain case history records and prepare reports.
    Phone: 713-970-4729 / 713-208-         ● Develop and review service plans in consultation with clients and
    7820                                      perform follow-ups assessing the quantity and quality of services
                                              provided.
    Shannon Fleming
                                          CORRECTIONS OFFICER
    Legal Counsel
                                          Texas Department of Criminal Justice / Aug 2010 - May 2018
    Email: Jd2fleming@yahoo.com             ● Conduct headcounts to ensure that each prisoner is present.
    Phone: 713-594-5634                     ● Monitor the conduct of prisoners in the housing unit, or during
                                               work or recreational activities, according to established policies,
                                               regulations, and procedures, to prevent escape or violence.
                                            ● Record information, such as prisoner identification, charges, and
                                               incidences of inmate disturbance, and keep daily logs of prisoner
                                               activities.


.
